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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                              CR 14–35–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 MARK IRVIN ROBERTS,

                      Defendant.



      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on February 19, 2015. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Mark Irvin Roberts’ guilty


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plea after Roberts appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of conspiring to distribute

methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and 846, as set forth in

the Superseding Information. Defendant further agrees to the forfeiture allegation

in the Superseding Information. In exchange for Defendant’s plea, the United

States has agreed to dismiss the Indictment previously filed in this matter.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

94), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Mark Irvin Roberts’ motion to change

plea (Doc. 73) is GRANTED and Mark Irvin Roberts is adjudged guilty as

charged in the Superseding Information.

      DATED this 11th day of March, 2015.




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